12/20/21, 9:11 PM                                                          Summary - MyCase
         USDC IN/ND
            This         case
                 is not the      3:21-cv-00692-DRL-MGG
                            official                                      document
                                     court record. Official records of court proceedings14-1   filed
                                                                                         may only     01/07/22
                                                                                                  be obtained directlypage   1 of 15
                                                                                                                       from the
                court maintaining a particular record.


   State of Indiana vs. Eric Benson Skeens
    Case Number                                          35C01-0812-FA-00073

    Court                                                Huntington Circuit Court

    Type                                                 FA - Class A Felony

    Filed                                                12/10/2008

    Status                                               08/31/2009 , Decided

    Related                                              Other
                                                                 35C01-1101-PC-000004

                                                         Lower Trial Court Case
                                                                 21A-SP-01659


   Parties to the Case
   Defendant Skeens, Eric Benson
       Address
       DOC #196051
       Indiana State Prison, E-E 29
       One Park Row
       Michigan City, IN 46360

       Attorney
       Cynthia M Carter
       #2330549, Lead, Retained

       212 W. 10th Street
       Suite D-320
       Indianapolis, IN 46202
       317-955-7997(W)

       Attorney
       Cynthia M Carter
       #2330549, Retained

       212 W. 10th Street
       Suite D-320
       Indianapolis, IN 46202
       317-955-7997(W)


   State            State of Indiana
   Plaintiff
       Attorney
       Amy Christine Richison
       #1962441

       Prosecuting Attorney
       201 N. Jefferson St., Rm 401
       Huntington, In 46750



https://public.courts.in.gov/mycase/#/vw/CaseSummary/eyJ2Ijp7IkNhc2VUb2tlbiI6Ik9BM2k3U29aNWtWaDNqcFBISktJUkxGSm5ncDFUdXpEd0ZBd…        1/15
12/20/21, 9:11 PM                                                    Summary - MyCase

   Charges
      USDC IN/ND case 3:21-cv-00692-DRL-MGG document 14-1 filed 01/07/22 page 2 of 15
    01 12/10/2008 4 CT/CHLD MOLEST/CL A FEL

       Statute
                    -
       Degree
                    CNV

    02 12/10/2008 35-42-4-3(a)/FA: Child Molesting

       Statute
                    35-42-4-3(a)
       Degree
                    FA

    03 12/10/2008 35-42-4-3(a)/FA: Child Molesting

       Statute
                    35-42-4-3(a)
       Degree
                    FA

    04 12/10/2008 35-42-4-3(a)/FA: Child Molesting

       Statute
                    35-42-4-3(a)
       Degree
                    FA

    05 12/10/2008 35-42-4-3(b)/FC: Child Molesting

       Statute
                    35-42-4-3(b)
       Degree
                    FC


   Chronological Case Summary
    12/10/2008           Converted Event
                    PROBABLE CAUSE AND INFORMATION FILED BY PROSECUTOR. WARRANT ISSUED.


    12/10/2008           Converted Event
                    BOND: $100,000.00


    12/11/2008           Converted Event
                    WARRANT RETURNED SERVED ON ERIC BENSON SKEENS DATED 12-10-08.


    12/15/2008 Converted Event
                    STATE APPEARS BY PROSECUTOR, AMY RICHISON. DEFENDANT APPEARS IN PERSON (IN CUSTODY). INITIAL HEARING
                    HELD. DEFENDANT INFORMS THE COURT THAT HE HAS HIRED COUNSEL. COURT SETS DECEMBER 22, 2008 AT 9:00 A.M.
                    FOR APPEARANCE OF COUNSEL. OMNIBUS DATE SET FOR FEBRUARY 9, 2009 AT 9:00 A.M. STATE'S REQUEST FOR NO
                    CONTACT ORDER IS GRANTED. LNT: PROSECUTOR, PROBATION, ATTY THONERT, SHERIFF'S DEPT.


    12/15/2008           Converted Event
                    ATTORNEY RICHARD THONERT FILES APPEARANCE FORM AND APPLICATION FOR RELEASE ON RECOGNIZANCE OR
                    SETTING OF REASONABLE BAIL/BOND WITH PROPOSED ORDER. MATTER SET FOR HEARING ON DECEMBER 22, 2008 AT
                    4:00 P.M. APPEARANCE HEARING SET FOR 9:00 A.M. IS VACATED. LNT: PROSECUTOR, PROBATION, ATTY THONERT,
                    SHERIFF'S DEPT.


https://public.courts.in.gov/mycase/#/vw/CaseSummary/eyJ2Ijp7IkNhc2VUb2tlbiI6Ik9BM2k3U29aNWtWaDNqcFBISktJUkxGSm5ncDFUdXpEd0ZBd…   2/15
12/20/21, 9:11 PM                                                            Summary - MyCase
         USDC IN/ND case 3:21-cv-00692-DRL-MGG document 14-1 filed 01/07/22 page 3 of 15
    12/16/2008          Converted Event
                    DEFENDANT, BY COUNSEL, FILES RESPONSE TO STATE'S MOTION FOR DISCOVERY, DEMAND FOR A JURY, MOTION FOR
                    PRETRIAL DISCOVERY AND PROPOSED ORDER. ALL MATTERS TO BE HEARD AT 12/22/08 HEARING SET AT 4:00 P.M. LNT:
                    PROSECUTOR, PROBATION, ATTY THONERT & SHERIFF'S DEPT.


    12/18/2008 Converted Event
                    No Contact Order entered (RJO). Same sent to the Clerk for processing.


    12/18/2008          Converted Event
                    Defendant, by counsel, files Motion for Transcript of the Probable Cause Hearing with proposed Order. Matter was
                    heard in Superior Court and Court Reporter already contacted. LNT: Prosecutor, Atty Thonert.


    12/22/2008 Converted Event
                    STATE APPEARS BY PROSECUTOR AMY RICHISON. DEFENDANT APPEARS IN PERSON AND BY COUNSEL, RICHARD
                    THONERT. BOND REDUCTION HELD. EVIDENCE PRESENTED. COURT FINDS THAT BOND SHALL REMAIN AT $100,000.00.
                    LNT: PROSECUTOR, ATTY THONERT & SHERIFF'S DEPT.


    12/30/2008 Converted Event
                    Comes now the Court and at request of defense (on 12/22/08) continues omnibus hearing to March 5, 2009 at 8:30 a.m.
                    No further continuances will be granted. Cour also issues the standard order for discovery. LNT: Prosecutor, Atty
                    Thonert.


    01/12/2009          Converted Event
                    Defendant, by counsel, files Notice of Alibi. LNT: Prosecutor, Attorney Thonert


    01/13/2009          Converted Event
                    State of Indiana, by Prosecuting Attorney Amy Richison, files State's Response to Defendant's Notice of Alibi. LNT:
                    Prosecutor, Attorney Thonert


    01/20/2009          Converted Event
                    Defendant, by counsel, files Motion to Compel. Court enters Order (RJO - OB 16) setting matter for hearing on February
                    2, 2009 at 8:30 a.m. Copy of Order to Prosecutor & Atty Thonert.


    01/22/2009          Converted Event
                    State of Indiana, by Prosecuting Attorney, files State's Response to Defendant's Motion to Compel. LNT: Prosecutor,
                    Attorney Thonert


    01/26/2009          Converted Event
                    Defendant, by counsel, files by fax, Motion to Reset Hearing of February 2, 2009 with proposed Order. Defendant, by
                    counsel, files Memorandum of Law. LNT: Prosecutor, Attorney Thonert


    01/27/2009          Converted Event
                    Defendant, by counsel, files (by fax) Amended Motion to Reset Hearing of February 2, 2009 with proposed Order. LNT:
                    Prosecutor, Attorney Thonert


    02/02/2009          Converted Event
                    Court enters Order (RJO - OB 16) resetting Defendant's Motion to Compel to March 2, 2009 at 9:00 a.m. Copy of Order to
                    Prosecutor, Probation, Attorney Thonert, Sheriff.


    02/05/2009          Converted Event
                    Defendant, by counsel, files Report to the Court. LNT: Prosecutor, Attorney Thonert




https://public.courts.in.gov/mycase/#/vw/CaseSummary/eyJ2Ijp7IkNhc2VUb2tlbiI6Ik9BM2k3U29aNWtWaDNqcFBISktJUkxGSm5ncDFUdXpEd0ZBd…              3/15
12/20/21, 9:11 PM                                                            Summary - MyCase
         USDC IN/ND case 3:21-cv-00692-DRL-MGG document 14-1 filed 01/07/22 page 4 of 15
    03/02/2009 Converted Event
                    STATE APPEARS BY PROSECUTOR AMY RICHISON. DEFENDANT APPEARS IN PERSON AND BY COUNSEL, RICHARD
                    THONERT. HEARING ON MOTION TO COMPEL CONDUCTED. ARGUMENTS PRESENTED. COURT TAKES MATTER UNDER
                    ADVISEMENT.


    03/02/2009 Converted Event
                    BY AGREEMENT OF PARTIES, OMNIBUS DATE IS SET FOR MARCH 5, 2009 AT 9:00 A.M.


    03/03/2009 Converted Event
                    COMES NOW THE COURT AND HAVING TAKEN MOTION TO COMPEL UNDER ADVISEMENT, NOW DENIES SAME. LNT:
                    PROSECUTOR, ATTY THONERT.


    03/03/2009          Converted Event
                    Defendant, by counsel, files Supplemental Receipt for Discovery. LNT: Prosecutor, Attorney Thonert


    03/05/2009          Converted Event
                    State appears by Chief Deputy Prosecutor, Jamie Groves. Defendant appears in person and by counsel, Richard Thonert.
                    Matter is set for jury trial for four (4) days commencing JULY 21, 2009 AT 9:00 A.M. Attorney Thonert files Motion in
                    Limine, Motion for the State to Produce Witness and Exhibit List on or Before April 10, 2009 with proposed Order,
                    Notice to Take Deposition Upon Oral Examination, Non-Party Motion to Produce to Rachel Walters at 114 Wabash
                    Circle, Huntington, Indiana; Request for Production of Documents and Things for Inspection, Examination and Copying
                    to Non-Party Rachel Walters and Request for Production of Documents to Non-Party Rachel Walters, Motion to Have
                    Defendant Present at Depositions with proposed Order (should the depositions be granted). Subpeona Duces Tecum,
                    Subpoena and Notice of Hearing (for Rachel Walters) shown filed with no action taken, as it does not specify dates.
                    Court sets all motions for hearing on MARCH 30, 2009 AT 11:00 A.M. Final pre-trial conference set for JUNE 15, 2009 AT
                    8:00 A.M. Court enters Pre-Trial Conference Order (RJO - OB 16). Copy to Prosecutor, Probation, Atty Thonert, Sheriff's
                    Dept.


    03/16/2009          Converted Event
                    Defendant, by counsel, files Motion for Bond Reduction; or Motion for Bond Modification. Court enters Order (RJO - OB
                    16) setting matter for hearing on March 30, 2009 at 9:00 a.m. Copy of Order to Prosecutor, Atty Thonert & Sheriff's Dept.


    03/19/2009          Converted Event
                    State of Indiana, by Prosecuting Attorney Amy Richison, files State's Objection to Requests for Non-Party Production.
                    LNT: Prosecutor, Attorney Thonert


    03/20/2009          Converted Event
                    Defendant, by counsel, files Subpoena Duces Tecum and Notice of Hearing to Rachel Walters to appear on March 30,
                    2009 at 11:00 a.m. Notice ordered.


    03/23/2009          Converted Event
                    Defendant, by counsel, files Motion to Reset Hearing From 9:00 a.m. to 11:00 a.m. on March 30, 2009. Court enters
                    Order (RJO - OB 16) and sets March 30, 2009 hearing at 9:30 a.m. Copy of Order to Prosecutor, Probation, Attorney
                    Thonert


    03/25/2009          Converted Event
                    Defendant, by counsel, files Request for Production of Documents to Non-Party and Motion to Produce. State of
                    Indiana, by Prosecutor Amy Richison, files State's Objection to Requests for Non-Party Production. LNT: Prosecutor,
                    Attorney Thonert




https://public.courts.in.gov/mycase/#/vw/CaseSummary/eyJ2Ijp7IkNhc2VUb2tlbiI6Ik9BM2k3U29aNWtWaDNqcFBISktJUkxGSm5ncDFUdXpEd0ZBd…                 4/15
12/20/21, 9:11 PM                                                             Summary - MyCase
         USDC IN/ND case 3:21-cv-00692-DRL-MGG document 14-1 filed 01/07/22 page 5 of 15
    03/30/2009 Converted Event
                    State appears by Prosecutor Amy Richison. Defendant appears in person and by Attorney Thonert. Hearing held on
                    motions. Matters taken under advisment. LNT: Prosecutor, Attorney Thonert.


    03/31/2009          Converted Event
                    Court enters Order on Defendant's Motion in Limine Filed March 2, 2009; Order on Defendant's Motions; Order on
                    Defendant's Non-Party Motion to Produce; and Order on Defendant's Motion to Reconsider Reduction of Bond (all RJO -
                    OB 16). Copy of Orders to Prosecutor, Attorney Thonert.


    05/12/2009          Converted Event
                    State of Indiana, by Prosecuting Attorney Amy Richison, files State's Response to Defendant's Request for Notice of
                    404(b) Evidence, State's Tender of Preliminary Instructions, State's Tender of Final Instructions, State's Motion in Limine
                    (Rape Shield) with proposed Order, and State's Motion in Limine (Penalty) with proposed Order. LNT: Prosecutor,
                    Attorney Thonert


    05/20/2009          Converted Event
                    Defendant, by counsel, files Motion to Modify Pre-Trial Jury Order. Agreed Entry between Prosecutor Richison and
                    Attorney Thonert filed. Court enters Order (RJO - OB 68) granting same. Copy of Order to Prosecutor & Atty Thonert.


    06/02/2009          Converted Event
                    State of Indiana, by Prosecuting Attorney Amy Richison, files State's Witness and Exhibit List. State of Indiana submits
                    Supboenas to the Clerk for service upon: Detective Mel Hunnicutt, Detective Cory Boxell, Sharon Robison, Nicole Allen,
                    Ron Hochstetler, Lynn Baker, KW, RW, SL. Notice ordered.


    06/03/2009          Converted Event
                    Defendant, by counsel, files Motion for Speedy Trial. LNT: Prosecutor, Attorney Thonert


    06/04/2009          Converted Event
                    CLERK SENDS SUBPOENAS TO THE SHERIFF OF HUNTINGTON COUNTY FOR SERVICE ON SADIE LANDRUM, RACHEL
                    WALTERS, KW, LYNN BAKER, RON HOCHSTETLER, NICOLE ALLEN, DET. CORY BOXELL, DET. MEL HUNNICUTT. SUBPOENA
                    SENT TO THE SHERIFF OF ALLEN COUNTY FOR SERVICE ON SHARON ROBISON. COPY TO ATTY.


    06/10/2009          Converted Event
                    Defendant, by counsel, files: 1) Objection to Disclosure of Work Product; 2) Defendant's Motion to Reconsider it's Ruling
                    on Defendant's Motion to Compel the Date and Dates of the Offenses as Alleged; Motion to Strike or Exclude Evidence
                    as "Time is of the Essence" of the Offense; or in the Alternative, Motion to Compel; 3) Motion to Compel Discovery; 4)
                    Defendant's Witness & Exhibit List; 5) Defendant's Preliminary Jury Instructions; 6) Defendant's Final Jury Instructions; 7)
                    Defendant's Second Motion in Limine; and 8) Motion for Defendant to Appear in Civilian Clothing Without Handcuffs or
                    Shackles with proposed Order. LNT: Prosecutor, Attorney Thonert


    06/10/2009          Converted Event
                    State of Indiana, by Prosecuting Attorney Amy Richison, files State's Motion in Limine (404(b)) with proposed Order. LNT:
                    Prosecutor, Attorney Thonert


    06/11/2009          Converted Event
                    PERSONAL SERVICE BY THE SHERIFF OF: HUNTINGTON COUNTY ON CORY BOXELL AT 300 CHERRY, HUNTINGTON
                    DATED 6-8-09. COPY TO ATTY.


    06/11/2009 Converted Event
                    PERSONAL SERVICE BY THE SHERIFF OF: HUNTINGTON COUNTY ON KW DATED 6-6-09. COPY TO ATTY.




https://public.courts.in.gov/mycase/#/vw/CaseSummary/eyJ2Ijp7IkNhc2VUb2tlbiI6Ik9BM2k3U29aNWtWaDNqcFBISktJUkxGSm5ncDFUdXpEd0ZBd…                    5/15
12/20/21, 9:11 PM                                                            Summary - MyCase
         USDC IN/ND case 3:21-cv-00692-DRL-MGG document 14-1 filed 01/07/22 page 6 of 15
    06/11/2009 Converted Event
                    PERSONAL SERVICE BY THE SHERIFF OF: HUNTINGTON COUNTY ON RACHEL WALTERS DATED 6-6-09. COPY TO ATTY.


    06/11/2009          Converted Event
                    PERSONAL SERVICE BY THE SHERIFF OF: HUNTINGTON COUNTY ON LYNN BAKER AT 2860 NORTH PARK AVE,
                    HUNTINGTON DATED 6-5-09. COPY TO ATTY.


    06/11/2009          Converted Event
                    PERSONAL SERVICE BY THE SHERIFF OF: HUNTINGTON COUNTY ON NICOLE ALLEN FOR DCS AT 2806 THEATER AVE,
                    HUNTINGTON DATED 6-5-09. COPY TO ATTY.


    06/11/2009          Converted Event
                    PERSONAL SERVICE BY THE SHERIFF OF: HUNTINGTON COUNTY ON RON HOCHSTETLER AT 201 N. JEFFERSON,
                    HUNTINGTON DATED 6-8-09. COPY TO ATTY.


    06/11/2009          Converted Event
                    PERSONAL SERVICE BY THE SHERIFF OF: HUNTINGTON COUNTY MEL HUNNICUTT AT 300 CHERRY, HUNTINGTON DATED
                    6-8-09. COPY TO ATTY.


    06/11/2009 Converted Event
                    PERSONAL SERVICE BY THE SHERIFF OF: HUNTINGTON COUNTY ON SADIE LANDRUM DATED 6-8-09. COPY TO ATTY.


    06/15/2009 Converted Event
                    Counsel appears in-chambers for final pre-trial conference. Court takes all matters under advisement.


    06/16/2009          Converted Event
                    PERSONAL SERVICE BY THE SHERIFF OF: ALLEN COUNTY ON 6/10/09 TO SHARON ROBISON WITH A SECRETARY
                    ACCEPTING AT 2270 LAKE AVE., FORT WAYNE.


    06/17/2009          Converted Event
                    Court having taken matters under advisement enters Order (RJO - OB 16) on pending issues all as per written entry.
                    Copy of Order to Prosecutor & Atty Thonert.


    06/22/2009          Converted Event
                    Defendant, by counsel, files Defendant's Third Motion in Limine. LNT: Prosecutor, Attorney Thonert


    07/01/2009          Converted Event
                    State of Indiana submits Subpoenas to the Clerk for service upon: GM, SM, DW, JA, LA, JH, TS, JG, AG, SN, JB, & VG. Notice
                    ordered.


    07/02/2009 Converted Event
                    CLERK SENDS SUBPOENAS TO THE SHERIFF OF HUNTINGTON COUNTY FOR SERVICE ON THOMAS SKEENS, JODY
                    GILLESPIE, AMANDA GILLESPIE, STEVE NEWSOME. SUBPOENAS SENT TO THE SHERIFF OF WABASH COUNTY FOR
                    SERVICE ON LUPE AMBURGEY AND JASON AMBURGEY. SUBPOENA SENT TO THE SHERIFF OF KOSCIUSKO COUNTY FOR
                    SERVICE ON JACQUELINE HOSSLUS. SUBPOENAS SENT BY CERTIFIED MAIL TO VICTORIA GARCIA, JOHN BYRER, DAWN
                    WALLIS, STEPHANIE MANGUN, GERALDINE MANGUN. COPY TO PROSECUTOR AND ATTY THONERT.


    07/06/2009 Converted Event
                    CLERK CERTIFIES SERVICE BY CERTIFIED MAIL SIGNED BY: DAWN WALLIS DATED 7-3-09. COPY TO ATTY.


    07/06/2009 Converted Event
                    CLERK CERTIFIES SERVICE BY CERTIFIED MAIL SIGNED BY: JOHN BYRER DATED 7-3-09. COPY TO ATTY.



https://public.courts.in.gov/mycase/#/vw/CaseSummary/eyJ2Ijp7IkNhc2VUb2tlbiI6Ik9BM2k3U29aNWtWaDNqcFBISktJUkxGSm5ncDFUdXpEd0ZBd…                  6/15
12/20/21, 9:11 PM                                                            Summary - MyCase
         USDC IN/ND case 3:21-cv-00692-DRL-MGG document 14-1 filed 01/07/22 page 7 of 15
    07/06/2009 Converted Event
                    Defendant, by counsel, files Amended Defendant's Witness List. LNT: Prosecutor, Attorney Thonert


    07/10/2009 Converted Event
                    PERSONAL SERVICE BY THE SHERIFF OF: HUNTINGTON COUNTY ON THOMAS SKEENS DATED 7-6-09. COPY TO ATTY.


    07/10/2009 Converted Event
                    PERSONAL SERVICE BY THE SHERIFF OF: HUNTINGTON COUNTY ON JODY GILLESPIE DATED 7-6-09. COPY TO ATTY.


    07/10/2009 Converted Event
                    PERSONAL SERVICE BY THE SHERIFF OF: HUNTINGTON COUNTY ON AMANDA GILLESPIE DATED 7-6-09. COPY TO ATTY.


    07/10/2009 Converted Event
                    CLERK CERTIFIES SERVICE BY CERTIFIED MAIL SIGNED BY: PAUL MANGUN ON 07/03/09 FOR STEPHANIE MANGUN.
                    GERALDINE MANGUN ON 07/06/09 FOR GERALDINE MANGUN. GERALDINE MANGUN ON 07/06/09 FOR VICTORIA
                    GARCIA.


    07/10/2009 Converted Event
                    PERSONAL SERVICE BY THE SHERIFF OF: HUNTINGTON COUNTY FOR STEVE NEWSOME ON 07/07/09. COPY TO ATTY.


    07/13/2009 Converted Event
                    PERSONAL SERVICE BY THE SHERIFF OF: KOSCIUSKO COUNTY ON JACQUELINE HOSSLUS DATED 7-9-09. COPY TO ATTY.


    07/20/2009 Converted Event
                    PERSONAL SERVICE BY THE SHERIFF OF: WABASH COUNTY ON JASON AMBURGEY AND LUPE AMBURGEY DATED 7/6/09.
                    COPY TO ATTY.


    07/21/2009          Converted Event
                    DEFENDANT, BY COUNSEL, FILES MOTION TO THE COURT FOR THE COURT TO RECONSIDER IT'S RULING ON
                    DEFENDANT'S MOTION TO COMPEL THE DATE AND DATES OF THE OFFENSES ALLEGED; MOTION TO STRIKE OR
                    EXCLUDE EVIDENCE AS "TIME IS OF THE ESSENCE" OF THE OFFENSE; OR, IN THE ALTERNATIVE, MOTION TO STRIKE AND
                    COMPEL AS THE STATE HAS NOT COMPLIED WITH DEFENDANT'S NOTICE OF ALIBI / MOTION FOR INDIVIDUAL VOIR DIRE
                    / MOTION IN LIMINE 404(b) / MOTION UPON OBJECTION WHICH REQUIRES ELABORATE ARGUMENT, MOTION TO
                    EXCUSE JURY; FURTHER MOTION FOR CONTINUING OBJECTION.


    07/21/2009          Converted Event
                    State appears by Prosecutor, Amy Richison. Defendant appears in person and by counsel, Richard Thonert. Court grants
                    Motion in Limine 404(b) and denies all other Motions filed by defendant on this date. Potential jurors brought in and
                    sworn. Voir dire conducted. Jury selected and sworn. Preliminary instructions read to jury. Jury is admonished and
                    released for the day. Court to reconvene on July 22, 2009 at 9:00 a.m.


    07/22/2009 Converted Event
                    State appears by Prosecutor Amy Richison. Defendant appears in person and by counsel, Richard Thonert. State
                    presents it's evidence and rests. Jury is admonished and released. Court to re-convene on July 23, 2009 at 9:00 a.m.




https://public.courts.in.gov/mycase/#/vw/CaseSummary/eyJ2Ijp7IkNhc2VUb2tlbiI6Ik9BM2k3U29aNWtWaDNqcFBISktJUkxGSm5ncDFUdXpEd0ZBd…             7/15
12/20/21, 9:11 PM                                                              Summary - MyCase
         USDC IN/ND case 3:21-cv-00692-DRL-MGG document 14-1 filed 01/07/22 page 8 of 15
    07/23/2009          Converted Event
                    State appears by Prosecutor Amy Richison. Defendant appears in person and by counsel, Richard Thonert. Defense
                    presents no evidence. Counsel presents closing arguments. Court reads final instructions to the jury. Bailiff sworn. Jury
                    retires to deliberate. Jury returns with the following verdicts: "We the jury, find the defendant, Eric Skeens, guilty of the
                    crime of child molesting, a class A felony, as charged in count I". "We the jury, find the defendant, Eric Skeens, guilty of
                    the crime of child molesting, a class A felony, as charged in count II". "We the jury, find the defendant, Eric Skeens, guilty
                    of the crime of child molesting, a class A felony, as charged in count III". "We the jury, find the defendant, Eric Skeens,
                    guilty of the crime of child molesting, a class A felony, as charged in count IV". "We the jury, find the defendant, Eric
                    Skeens, guilty of the crime of child molesting, a class C felony, as charged in count V". Jury is polled and released. Court
                    enters judgment of conviction on counts I through V; orders probation to prepare a pre-sentence investigation report
                    and sets sentencing for August 31, 2009 at 10:00 a.m. LNT: Prosecutor, Probation, Atty Thonert & Sheriff's Dept.


    07/23/2009 Judgment
                    Judicial Officer:                Hakes, Thomas

                    02. 35-42-4-3(a)/FA: Child Molesting
                         • Finding of Guilty
                    03. 35-42-4-3(a)/FA: Child Molesting
                         • Finding of Guilty
                    04. 35-42-4-3(a)/FA: Child Molesting
                         • Finding of Guilty
                    05. 35-42-4-3(b)/FC: Child Molesting
                         • Finding of Guilty

    08/10/2009          Converted Event
                    Court receives correspondence from Defendant. Court grants request for public defender and appoints Attorney Jeremy
                    Nix to represent Defendant. LNT: Prosecutor, Probation, Attorney Nix, Attorney Thonert, Defendant (HCJ)


    08/18/2009          Converted Event
                    Attorney Thonert files Motion to Withdraw Written Appearance. Court enters Order (RJO - OB 17) approving same. Copy
                    of Order to Atty Thonert, Prosecutor, Atty Nix, Defendant


    08/25/2009 Converted Event
                    PROBATION DEPARTMENT FILES PRE-SENTENCE INVESTIGATION REPORT.


    08/26/2009          Converted Event
                    Correspondence received from J. Hossler. Same placed in file - no action taken.


    08/27/2009          Converted Event
                    Correspondence received from G. Mangun. Same placed in file- no action taken.


    08/31/2009          Converted Event
                    STATE APPEARS BY PROSECUTOR, AMY RICHISON. DEFENDANT APPEARS IN PERSON AND BY COUNSEL, JEREMY NIX
                    WHO FILES WRITTEN APPEARANCE. THE COURT MAKES THE P.S.I. AND LETTER FROM VICTIM'S MOTHER A PART OF THE
                    RECORD. THE DEFENDANT, HAVING BEEN FOUND GUILTY BY JURY TRIAL, AND THE COURT ENTERING JUDGMENT OF
                    CONVICTION, NOW ENTERS SENTENCING ORDER (RJO - OB 17). COURT APPOINTS ATTORNEY NIX TO REPRESENT
                    DEFENDANT FOR PURPOSES OF APPEAL. COPY OF SENTENCING ORDER TO PROSECUTOR, PROBATION, ATTY NIX AND
                    SHERIFF'S DEPT.


    08/31/2009 Judgment

                    01. 4 CT/CHLD MOLEST/CL A FEL
                         • Conversion Unknown



https://public.courts.in.gov/mycase/#/vw/CaseSummary/eyJ2Ijp7IkNhc2VUb2tlbiI6Ik9BM2k3U29aNWtWaDNqcFBISktJUkxGSm5ncDFUdXpEd0ZBd…                      8/15
12/20/21, 9:11 PM                                                              Summary - MyCase
         USDC IN/ND case 3:21-cv-00692-DRL-MGG document 14-1 filed 01/07/22 page 9 of 15
    08/31/2009 Sentenced
                    Judicial Officer                 Hakes, Thomas

                    1. 4 CT/CHLD MOLEST/CL A FEL
                    2. 35-42-4-3(a)/FA: Child Molesting
                    3. 35-42-4-3(a)/FA: Child Molesting
                    4. 35-42-4-3(a)/FA: Child Molesting
                      Comment:
                                  (Counts I & II run consecutive to each other and concurrent with counts III and IV; counts III & IV run
                                  consecutive to each other and concurrent to counts I & II; count V runs concurrent to counts I & II FOR A
                                  TOTAL EXECUTED SENTENCE OF 90 YEARS.)

                      Confinement to Commence: 08/31/2009
                                  Indiana Department of Correction
                                  Term: 45 Yr
                                  Jail Credit: 264 Days


    08/31/2009 Sentenced
                    Judicial Officer                 Hakes, Thomas

                    5. 35-42-4-3(b)/FC: Child Molesting
                      Confinement to Commence: 08/31/2009
                                  Indiana Department of Correction
                                  Term: 7 Yr
                                  Jail Credit: 264 Days


    09/01/2009          Converted Event
                    Defendant, by counsel, files Notice of Appeal and Praecipe for Transcript. LNT: Prosecutor, Attorney Nix


    09/01/2009          Converted Event
                    COURT SENDS ABSTRACT OF JUDGMENT TO THE SHERIFF OF HUNTINGTON COUNTY.


    09/15/2009          Converted Event
                    CLERK SENDS NOTICE OF COMPLETION OF CLERK'S RECORD BY CERTIFIED MAIL ALONG WITH CCS TO THE COURT OF
                    APPEALS. COPY TO PROSECUTOR AND ATTY NIX.


    09/25/2009          Converted Event
                    CLERK CERTIFIES SERVICE BY CERTIFIED MAIL SIGNED BY: CLERK OF COURTS ON 9/17/09.


    12/10/2009          Converted Event
                    Clerk files Notice of Filing of Transcript. LNT: Prosecutor, Public Defender, Court of Appeals.


    12/21/2009          Converted Event
                    CLERK SENDS NOTICE OF COMPLETION OF TRANSCRIPT BY CERTIFIED MAIL ALONG WITH CCS TO THE COURT OF
                    APPEALS. COPY TO ATTYS RICHISON AND NIX.


    01/06/2010          Certified Mail Returned
                    Service for Court of Appeals accepted on 12/23/2009.


    03/29/2010 Clerk Administrative Event
                    Clerk receives Third Request for Transcript via email from the Court of Appeals. Clerk sends completed Transcript by
                    certified mail along with CCS to the Court of Appeals. Clerk notes that email requests for transcripts are not being
                    received from the Court of Appeals because email address is being excluded from list of recipients. Third request was
                    received because it was forwarded from another recipient. Copy to Attys of Record.

https://public.courts.in.gov/mycase/#/vw/CaseSummary/eyJ2Ijp7IkNhc2VUb2tlbiI6Ik9BM2k3U29aNWtWaDNqcFBISktJUkxGSm5ncDFUdXpEd0ZBd…               9/15
12/20/21, 9:11 PM                                                             Summary - MyCase
        USDC IN/ND case 3:21-cv-00692-DRL-MGG document 14-1 filed 01/07/22 page 10 of 15
    08/26/2010          Notice Received from Court of Appeals
                    Court of Appeals enters Memorandum Decision - Not for Publication.


    09/01/2010          Order Issued
                    Court enters Modified Sentencing Order [RJO]. Copy of Order to Prosecutor, Probation, Attorney Nix and Defendant.
                    Copy also to be sent to the Indiana Dept. of Corrections with the amended abstract.

                    Order Signed:                   09/01/2010

    09/03/2010          Abstract of Judgment Sent to DOC
                    Court sends Amended Abstract to Central Office DOC and Miami Correctional Facility via regular mail.


    09/17/2010          Abstract of Judgment Sent to DOC
                    Court sends Second Amended Abstract to Central Office DOC (fax) & Miami Correctional Facility.


    02/10/2011          Correspondence to/from Court Filed
                    Court receives correspondence from Defendant.

                    Filed By:                       Skeens, Eric Benson
                    File Stamp:                     02/10/2011

    05/02/2011          Clerk Administrative Event
                    Clerk receives correspondence from defendant. Clerk sends requested CCS.


    05/10/2011          Clerk Administrative Event
                    Clerk receives correspondence from defendant requesting copy of search warrant and Affidavit of Probable Cause
                    relating to search warrant. Correspondence placed in file.


    05/19/2011          Clerk Administrative Event
                    Clerk sends defendant correspondence stating that the requested information was not found in Court file. Copy of
                    Clerk's correspondence placed in file.


    05/23/2011          Clerk Administrative Event
                    Clerk receives public access request from defendant. Same placed in file.


    05/26/2011          Clerk Administrative Event
                    Clerk sends correspondence to defendant stating that requested information was not found in Court file. Copy of letter
                    placed in file.


    06/06/2011          Clerk Administrative Event
                    Clerk receives Request for Access to Public Record (2 letters) from defendant dated 6-2-11 and 6-3-11. Clerk sends
                    Requests to Circuit Court Judge for review. Requests placed in file.


    06/10/2011          Correspondence to/from Court Filed
                    Court receives request from defendant for transcript of probable cause/search warrant hearing . Same is denied. LNT:
                    Defendant.

                    Filed By:                       Skeens, Eric Benson
                    File Stamp:                     05/29/2011

    06/10/2011          Correspondence to/from Court Filed
                    Court receives request from defendant for transcript of probable cause/search warrant hearing. Same is denied. LNT:
                    Defendant.

                    Filed By:                       Skeens, Eric Benson
                    File Stamp:                     06/03/2011



https://public.courts.in.gov/mycase/#/vw/CaseSummary/eyJ2Ijp7IkNhc2VUb2tlbiI6Ik9BM2k3U29aNWtWaDNqcFBISktJUkxGSm5ncDFUdXpEd0ZB…               10/15
12/20/21, 9:11 PM                                                               Summary - MyCase
        USDC IN/ND case 3:21-cv-00692-DRL-MGG document 14-1 filed 01/07/22 page 11 of 15
    06/13/2011          Clerk Administrative Event
                    Clerk sends correspondence to defendant by certified mail along with a complete CCS, certified copies of Arrest Warrant
                    and Oral Probable Cause Determination and Order. Copy to defendant.


    06/16/2011          Clerk Administrative Event
                    Clerk receives correspondence from defendant. Copy of correspondence as well as previous correspondences from
                    May-June 2011 sent to County Atty Robert Garrett for review. Defendant will receive answer to correspondence (dated
                    6-16-11) after review. Copy to defendant.


    06/24/2011          Certified Mail Returned
                    With service accepted by Marlene Kelly for Eric Skeens % DOC.


    06/30/2011          Clerk Administrative Event
                    Clerk receives copy of letter addressed to defendant from County Atty Garrett. Letter states that no further request for
                    information (regarding search warrant and probable cause for search warrant) will be honored. Copy of letter placed in
                    defendant's Circuit Court file. Copy of CCS to defendant.


    07/18/2011 Administrative Event
                    Court receives improper pleadings from Defendant. Court enters Order in 35C01-1101-PC-4 regarding same. LNT:
                    Prosecutor, Defendant

                    Filed By:                       Skeens, Eric Benson
                    File Stamp:                     07/18/2011

    08/15/2011          Clerk Administrative Event
                    Clerk receives request for public access from defendant. Clerk sends requested CCS (entries dated 6/13/11-present)
                    sent to defendant.


    01/28/2013          Correspondence to/from Court Filed
                    Court receives copy of 1/24/13 correspondence from Defendant. Same placed in file.

                    Filed By:                       Skeens, Eric Benson
                    File Stamp:                     01/28/2013

    02/15/2013          Motion Filed
                    Defendant, pro se, files Motion for Return of Petitioner's Property.

                    Filed By:                       Skeens, Eric Benson
                    File Stamp:                     02/14/2013

    02/15/2013 Administrative Event
                    Court sends copy of Motion for Return of Petitioner's Property to prosecutor for response. LNT: Prosecutor &
                    Defendant.


    02/19/2013          Motion To Compel
                    Defendant, pro se, files Certified Motion to Compel Production of Documents. File-stamped copy to Attorney Thonert
                    and Defendant.

                    Filed By:                       Skeens, Eric Benson
                    File Stamp:                     02/19/2013

    02/21/2013          Response to a Petition Filed
                    State of Indiana, by Prosecutor Amy Richison, files Response to Defendant's Motion for Return of Petitioner's Property.

                    Filed By:                       Richison, Amy Christine
                    File Stamp:                     02/21/2013




https://public.courts.in.gov/mycase/#/vw/CaseSummary/eyJ2Ijp7IkNhc2VUb2tlbiI6Ik9BM2k3U29aNWtWaDNqcFBISktJUkxGSm5ncDFUdXpEd0ZB…                 11/15
12/20/21, 9:11 PM                                                             Summary - MyCase
        USDC IN/ND case 3:21-cv-00692-DRL-MGG document 14-1 filed 01/07/22 page 12 of 15
    02/22/2013 Administrative Event
                    Court evaluates the defendant's motion (filestamped 2/14/13) and the state's response (filestamped 2/21/13). There
                    being no property in the possession of Huntington County Prosecutor or Law Enforcement, the motion is dismissed.
                    LNT: Prosecutor & Defendant.


    03/04/2013          Motion for Enlargement of Time Filed
                    Respondent, by counsel Thonert, files Motion for Enlargement of Time Within Which to Answer, Plead or Otherwise
                    Respond to Petitioner's Motion to Compel.

                    Filed By:                       Nix, Jeremy Kenneth
                    File Stamp:                     03/04/2013

    03/18/2013          Answer Filed
                    Attorney Thonert files Respondent's Answer to Petitioner's Motion to Compel Production of Documents.

                    File Stamp:                     03/18/2013

    03/20/2013          Order Issued
                    Court enters Order [RJO]. Copy to Attorney Thonert, Defendant.

                    Order Signed:                   03/20/2013

    04/04/2013          Correspondence to/from Court Filed
                    Court receives correspondence from Defendant.

                    Filed By:                       Skeens, Eric Benson
                    File Stamp:                     04/04/2013

    04/04/2013 Administrative Event
                    Correspondence received by defendant and filestamped 4/4/13 is placed in file with no action taken. LNT: Defendant.


    05/01/2013          Motion Filed
                    Defendant, pro se, files Motion for Voir Dire, Trial, & Sentencing Transcripts.

                    Filed By:                       Skeens, Eric Benson
                    File Stamp:                     05/01/2013

    05/02/2013 Administrative Event
                    Comes now the Court and finds that the defendant is represented by Public Defender under cause number 35C01-
                    1101-PC-000004. The Court will only accept filings from Public Defender. The defendant's Motion for Voir Dire, Trial &
                    Sentencing Transcripts is placed in file with no action taken. LNT: Defendant & Attorney Merryman.


    05/08/2013          Motion Filed
                    Defendant, pro se, files Motion to Reconsider.

                    Filed By:                       Skeens, Eric Benson
                    File Stamp:                     05/08/2013

    05/14/2013 Administrative Event
                    Comes now the Court and finds that the Defendant's Motion to Reconsider filed on 5/8/13 is DENIED. LNT: Prosecutor &
                    Defendant.


    07/30/2013          Motion Filed
                    Defendant, pro se, files Motion for Trial Transcripts and Record of all Proceedings; and Motion to Compel Production of
                    Documents.

                    Filed By:                       Skeens, Eric Benson
                    File Stamp:                     07/26/2013




https://public.courts.in.gov/mycase/#/vw/CaseSummary/eyJ2Ijp7IkNhc2VUb2tlbiI6Ik9BM2k3U29aNWtWaDNqcFBISktJUkxGSm5ncDFUdXpEd0ZB…                12/15
12/20/21, 9:11 PM                                                              Summary - MyCase
        USDC IN/ND case 3:21-cv-00692-DRL-MGG document 14-1 filed 01/07/22 page 13 of 15
    07/30/2013 Administrative Event
                    Documents have been provided. The defendant's request for additional copies is denied. LNT: Defendant.


    08/12/2013          Motion To Compel
                    Defendant, pro se, files Motion to Compel Production of Omitted and/or Missing Documents.

                    Filed By:                        Skeens, Eric Benson
                    File Stamp:                      08/09/2013

    08/12/2013          Answer Filed
                    Attorney Thonert files Respondent's Answer to Petitioners Motion to Compel Production of Documents of Omitted and
                    or Missing Documents.

                    File Stamp:                      08/12/2013

    08/12/2013 Administrative Event
                    Court's response to Motion to Compel filestamped 8/9/13: The matter has been heard prior to this action. LNT:
                    Petitioner & Respondent.


    12/18/2014 Motion To Compel
                    Defendant, pro se, files Motion to Compel Production of Omitted and/or Missing Documents.

                    Filed By:                        Skeens, Eric Benson
                    File Stamp:                      12/18/2014

    12/31/2014          Administrative Event
                    Defendant filed Motion to Compel Production of Omitted and/or Missing Documents on 12/18/14. The matter was
                    resolved in response of August 12, 2013; therefore the present motion is denied. The Court notes that the caption in
                    this filing is not correct. Eric Skeens shall correct or the Court will not accept future filings. LNT: DEFENDANT.


    01/29/2015          Motion Filed
                    Defendant, pro se, files Motion for Production of Medical Reports and Related Evidence.

                    Filed By:                        Skeens, Eric Benson
                    File Stamp:                      01/29/2015

    01/30/2015          Request for Records
                    Eric B Skeens Doc#196051 requested a copy of the Clerks Record: Clerk mailed Response. 442 pages at 25cents a page
                    $110.50 and $13.00 flat rate postage for a total of $123.50.

                    File Stamp:                      01/20/2015

    01/30/2015 Administrative Event
                    Defendant's Motion for Production of Medical Reports and Related Evidence is denied.


    01/30/2015 Motion to Compel Discovery Filed
                    Defendant, pro se, files Motion to Compel Production of Documents.

                    Filed By:                        Skeens, Eric Benson
                    File Stamp:                      01/30/2015

    06/02/2015          Correspondence to/from Court Filed
                    Defendant sends correspondence to the Court Reporter requesting additional transcript of specific portion of voir dire.
                    Court notes that a full, true, correct and complete transcript was filed on 12/10/09. There is no additional conversation
                    at the point where the defendant is requesting. LNT: Defendant.

                    Filed By:                        Skeens, Eric Benson
                    File Stamp:                      05/29/2015




https://public.courts.in.gov/mycase/#/vw/CaseSummary/eyJ2Ijp7IkNhc2VUb2tlbiI6Ik9BM2k3U29aNWtWaDNqcFBISktJUkxGSm5ncDFUdXpEd0ZB…                  13/15
12/20/21, 9:11 PM                                                              Summary - MyCase
        USDC IN/ND case 3:21-cv-00692-DRL-MGG document 14-1 filed 01/07/22 page 14 of 15
    07/09/2015          Correspondence to/from Court Filed
                    Correspondence received from defendant requesting audio recording of a certain portion of the voir dire. Court
                    Reporter sends disk with the portion of voir dire requested and notes that the exact starting point on the disk is 1:13:41.
                    LNT: Defendant.

                    Filed By:                       Skeens, Eric Benson
                    File Stamp:                     06/08/2015

    09/30/2015          Correspondence to/from Court Filed
                    Letter received addressed to the Court Reporter and is provided to the Judge. Document is not a proper filing. Court
                    notes that a transcript AND disk of the audio recording have been provided to the Defendant. The Defendant has all the
                    information that the Court Reporter has. No action is taken on the letter. LNT: Defendant.

                    Filed By:                       Skeens, Eric Benson
                    File Stamp:                     09/30/2015

    04/25/2017          Appearance Filed
                    Appearance

                    For Party:                      Skeens, Eric Benson
                    File Stamp:                     04/25/2017

    08/07/2017          Motion Filed
                    Motion

                    Filed By:                       Skeens, Eric Benson
                    File Stamp:                     08/07/2017

    08/08/2017          Order Granting
                    Court enters Order granting CD of Voir Dire Audio of July 21, 2009.

                    Order Signed:                   08/08/2017

    08/09/2017 Automated ENotice Issued to Parties
                    Order Granting ---- 8/8/2017 : Cynthia M Carter;Amy Christine Richison


    07/16/2021          Administrative Event
                    The Court receives correspondence from the Defendant requesting a transcript. Per the docket, this information has
                    previously been provided to the defendant in its' entirety on 09/30/2015 and via audio CD on 08/08/2017. No further
                    action taken.

                    Noticed:                        Skeens, Eric Benson

    07/16/2021 Clerk Administrative Event
                    CCS Entry of 7/16/2021, Administrative Event notice sent to defendant.

                    Noticed:                        Skeens, Eric Benson

    07/17/2021 Automated Paper Notice Issued to Parties
                    Administrative Event ---- 7/16/2021 : Eric Benson Skeens


    07/30/2021          Administrative Event
                    Correspondence requesting "shorthand notes".

                    Filed By:                       Skeens, Eric Benson

    08/03/2021 Administrative Event
                    The Court takes no action with the correspondence from the Defendant requesting additional information. The
                    Defendant was notified on 09/30/2015 that all documentation available to him has previously been provided.

                    Noticed:                        Skeens, Eric Benson


https://public.courts.in.gov/mycase/#/vw/CaseSummary/eyJ2Ijp7IkNhc2VUb2tlbiI6Ik9BM2k3U29aNWtWaDNqcFBISktJUkxGSm5ncDFUdXpEd0ZB…                14/15
12/20/21, 9:11 PM                                                             Summary - MyCase
        USDC IN/ND case 3:21-cv-00692-DRL-MGG document 14-1 filed 01/07/22 page 15 of 15
    08/04/2021 Automated Paper Notice Issued to Parties
                    Administrative Event ---- 8/3/2021 : Eric Benson Skeens


    08/04/2021 Clerk Administrative Event
                    CCS Entry of 8/3/2021, Administrative Event notice sent to defendant.

                    Noticed:                       Skeens, Eric Benson

    09/27/2021          Opinion - Memorandum Received from the Court of Appeals
                    File Stamp:                    09/27/2021

    11/19/2021          Order Received from the Indiana Supreme Court
                    Order Signed:                  11/18/2021

    11/20/2021 Automated ENotice Issued to Parties
                    Order Received from the Indiana Supreme Court ---- 11/19/2021 : Cynthia M Carter;Amy Christine Richison




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                 court maintaining a particular record.




https://public.courts.in.gov/mycase/#/vw/CaseSummary/eyJ2Ijp7IkNhc2VUb2tlbiI6Ik9BM2k3U29aNWtWaDNqcFBISktJUkxGSm5ncDFUdXpEd0ZB…         15/15
